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                     EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                              [PROPOSED] ORDER EXTENDING
                                                         CERTAIN DEADLINES
                 Plaintiffs,

  vs.                                               Case No: 2:23-cv-00936-AMA-CMR

  KEVIN G. LONG; MILLCREEK                               Judge Ann Marie McIff Allen
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                       Magistrate Judge Cecilia M. Romero
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

                 Defendants.


        Having reviewed the parties’ Stipulated Motion to Extend Certain Deadlines, and for

 good cause appearing,

        IT IS HEREBY ORDERED that the Stipulated Motion is GRANTED and that the

 following deadlines apply in this case:
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                  •   Close of fact discovery: May 13, 2025;

                  •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – party(ies)

                      bearing burden of proof: May 27, 2025;

                  •   Rule 26-(a)(2) expert disclosures (subject and identity of experts) – counter

                      disclosures: June 17, 2025;

                  •   Rule 26-(a)(2) expert reports – party(ies) bearing burden of proof: June 24, 2025;

                  •   Rule 26-(a)(2) expert reports – counter reports: July 23, 2025;

                  •   Last day for expert discovery: August 27, 2025;

                  •   Deadline for filing dispositive or potentially dispositive motions: September 12,

                      2025;

                  •   If the parties do not intend to file dispositive or potentially dispositive motions, a

                      scheduling conference will be held for purposes of setting a trial date: TBD; and

                  •   Evaluate case for settlement/ADR: May 13, 2025.



          DATED this ____ day of February, 2025.

                                                             BY THE COURT:

                                                             ______________________________
                                                             Cecilia M. Romero
                                                             United States Magistrate Judge

 APPROVED AS TO FORM AND CONTENT:

 CHRISTIANSEN LAW, PLLC

 By: /s/ Stephen K. Christiansen
    Stephen K. Christiansen

      Attorneys for Plaintiffs
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 By: /s/ Andrew V. Wright
   Andrew V. Wright

 Attorneys for Defendant Colliers International

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    John Keiter

 Attorney for Defendant Brent Smith

 RAY QUINNEY & NEBEKER P.C.

 By: /s/ Justin T. Toth
    Justin T. Toth

 Attorneys for Defendant Spencer Taylor

 MITCHELL BARLOW & MANSFIELD, P.C.

 By: /s/ J. Ryan Mitchell
    J. Ryan Mitchell

 Attorneys for Defendant Blake McDougal

 STRONG & HANNI
 By: /s/ Stuart H. Schultz
    Stuart H. Schultz

 Attorneys for Defendant Mary Street




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 20th day of February, 2025, I caused to be served a true and

 correct copy of the foregoing [PROPOSED] ORDER EXTENDING CERTAIN DEADLINES

 via the CM/ECF system, which automatically provided notice to all counsel of record.


                                                              /s/ Bentley J. Tolk




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